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 9
                  IN THE UNITED STATES DISTRICT COURT
10              FOR THE CENTRAL DISTRICT OF CALIFORNIA
11

12 ALEX WILSON, Individually and                )
                                                )       CIVIL ACTION NO. 2:18-cv-3473
   On Behalf of All Others Similarly            )
13
   Situated,                                    )
14                                              )
                        Plaintiff,              )       CLASS ACTION COMPLAINT
15                                              )
                  vs.                           )
16                                              )
     THE TENNIS CHANNEL, INC.                   )       JURY TRIAL DEMANDED
17                                              )
                                                )
18                      Defendant.              )
                                                )
19                                              )

20

21         Plaintiff, Alex Wilson (“Plaintiff”), by and through his attorneys, files this
22   action on behalf of himself and all others similarly situated against Defendant,
23   The Tennis Channel, Inc. (“Defendant”), and alleges as follows:
24                             NATURE OF THE ACTION
25         1.     Plaintiff brings this action individually and on behalf of a proposed
26   nationwide class (more fully defined below), for the benefit and protection of all
27   current and former purchasers of Defendant’s Tennis Channel Plus live content
28   and video streaming service (“TC Plus”).                 As alleged herein, Defendant
                                     Class Action Complaint                             1
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 1   deceptively markets and advertises TC Plus as providing access to live content
 2   when, in fact, it does not, or only provides access to select live content in a manner
 3   that is directly contrary to Defendant’s advertisements.
 4           2.   Plaintiff brings this action on behalf of himself and all other similarly
 5   situated consumers to stop Defendant’s false and misleading advertising relating
 6   to the sale of TC Plus and to obtain redress for those who have purchased TC Plus
 7   across the United States. Plaintiff alleges violations of the California Consumers
 8   Legal Remedies Act, Civil Code § 1750, et seq. (“CLRA”); Unfair Competition
 9   Law, California Business and Professions Code § 17200, et seq. (“UCL”); and
10   False Advertising Law, California Business and Professions Code, § 17500, et
11   seq. (“FAL”).     In the alternative, Plaintiff alleges violations of the Illinois
12   Consumer Fraud and Deceptive Business Practice Act, 815 ILCS 505/1, et. seq.
13   (“ICFDBPA”); violation of the Illinois Uniform Deceptive Trade Practice Act,
14   815 ILCS 510/2, et. seq. (“IUDTPA”); and for unjust enrichment on behalf of an
15   alternative Illinois state class defined below.
16           3.   At all relevant times, Defendant has deceptively marketed,
17   advertised, and sold TC Plus as allowing subscribers to view live tennis programs
18   and matches, when, in fact, many of the advertised programs are not available
19   live.
20                             JURISDICTION AND VENUE
21           4.   This Court has subject matter jurisdiction under 28 U.S.C. §
22   1332(d)(2)(A) because the claims relating to the matter in controversy exceed $5
23   million, exclusive of interest and costs, the proposed class has at least 100
24   members, and this is a class action in which certain of the class members
25   (including Plaintiff) and Defendant are citizens of different states.
26           5.   Venue is proper in this judicial District under 28 U.S.C. § 1391
27   because Defendant is a resident of this judicial District and does business
28   throughout this District and a substantial part of the acts and omissions giving rise
                                   Class Action Complaint                               2
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 1   to Plaintiff’s claims occurred in or emanated from this District. Plaintiff resides
 2   in this District and purchased a TC Plus subscription in this District.
 3             6.      At all pertinent times, Defendant was engaged in the marketing,
 4   advertisement, and sale of TC Plus subscriptions, which is the subject of this
 5   lawsuit, in this District and throughout the United States.
 6                                                PARTIES
 7             7.      Plaintiff is and, at all times relevant to this action has been, a resident
 8   of Peoria, Illinois, and, thus, is a citizen of Illinois.
 9             8.      Defendant is owned by Sinclair Television Group, Inc., a subsidiary
10   of Sinclair Broadcast Group, Inc. Defendant is headquartered in Santa Monica,
11   California, and, thus, is a citizen of California. Defendant markets and sells TC
12   Plus throughout the United States, including in this District.
13                                SUBSTANTIVE ALLEGATIONS
14             9.      This is an action brought against Defendant on behalf of Plaintiff and
15   all persons who purchased a TC Plus subscription in the United States, and, in the
16   alternative, in Illinois.
17             10.     TC Plus is a digital subscription service that has been available for
18   purchase from Defendant since approximately May of 2014. The current cost of
19   TC Plus is $89.99 per year. The subscription purports to allow users to access
20   “all of the Tennis Channel Plus content.” 1
21             11.     Defendant deceptively markets and advertises TC Plus as giving
22   subscribers “access to hundreds of hours of live tennis throughout the year
23   including ATP World Tour, WTA, Davis Cup, Fed Cup, and much more.” 2
24   Subscribers are promised the ability to “Watch Anytime, Anywhere” on “Apple
25   TV, iPhone, iPad, and Android.” 3
26   1
         https://tennischanneleverywhere.com/subscribe, last accessed March 14, 2018.
27   2
         https://tennischanneleverywhere.com/subscribe, last accessed March 14, 2018.
28   3
         Id.
                                           Class Action Complaint                              3
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 1          12.    Defendant’s website contains a video advertisement that deceptively
 2   markets TC Plus as providing “even more live, more matches, and more exclusive
 3   on demand content. Stay connected to your favorite sport on the couch or on the
 4   go. Only on Tennis Channel Plus.”4
 5          13.    Defendant further markets and advertises the following tournaments
 6   as being available, live, on TC Plus:
 7
                    What Tennis tournaments do I get access to when I
 8
                    subscribe to Tennis Channel Plus?
 9                  A: By subscribing to Tennis Channel Plus you gain
                    access to a premier 24x7 livestreaming sports and
10
                    special access to livestream the following tournaments
11                  and matches not found on Tennis Channel.
                    Tournaments and dates subject to change:
12
                    Dec. 29-Jan. 6
13                  Hopman Cup- Live and VOD
14
                    *** JANUARY TOURNAMENTS ***
                    Jan. 6-13
15                  ATP Sydney - Live and VOD
16
                    Jan. 8
                    0Fast4Sydney - Live and VOD
17                  Jan. 8-10
18
                    WTC Adelaide - Live and VOD
                    Jan. 9-12
19                  Australian Open Qualifiers - Live and VOD
20                  *** FEBRUARY TOURNAMENTS ***
                    Feb. 2-4
21                  Davis Cup First Round - Live and VOD
22                  Feb. 5-11
                    Quito - Live and VOD
23                  Feb. 9-11
24                  Sofia - Live and VOD
                    Feb. 10-11
25                  Fed Cup First Round - Live and VOD
26                  Feb. 12-18
                    ATP Rotterdam - Live
27
     4
      https://tennischanneleverywhere.com/watchnow/b6620c32-a761-4c9d-86f2-31fbd3d058fc,   last
28   accessed March 14, 2018.
                                        Class Action Complaint                              4
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                Feb. 12-18
 1
                ATP Buenos Aires - Live and VOD
 2              Feb. 19-25
                ATP Rio de Janeiro - Live
 3
                Feb. 20-25
 4              ATP Marseille - Live and VOD
                *** MARCH TOURNAMENTS ***
 5
                Mar. 2-4
 6              ATP Sao Paolo - Live and VOD
 7
                Mar. 5-18
                WTA Indian Wells - Live
 8              Mar. 9-Apr. 1
 9
                WTA Miami - Live
                *** APRIL TOURNAMENTS ***
10              Apr. 1-8
11
                WTA Charleston - Live and VOD
                Apr. 6-8
12              Davis Cup - Live and VOD
13
                Apr. 9-15
                ATP Marrakech - Live and VOD
14              Apr. 14-22
15              ATP Monte Carlo - Live
                Apr. 20-22
16              Fed Cup Semifinals - Live and VOD
17              Apr. 23-29
                ATP Barcelona - Live
18              Apr. 30-May. 6
19              ATP Munich - Live and VOD
                *** MAY TOURNAMENTS ***
20              Apr. 30-May. 6
21              ATP Istanbul - Live and VOD
                May. 6-13
22              ATP Madrid - Live
23              May. 14-20
                ATP Rome - Live
24              May. 21-26
25              ATP Geneva - Live and VOD
                May. 21-25
26              Roland Garros Qualfying - Live and VOD
27              *** JUNE TOURNAMENTS ***
                May. 27-Jun. 10
28
                              Class Action Complaint                       5
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                Roland Garros - Live and VOD
 1
                June. 11-17
 2              ATP s'Hertogenbosch - Live and VOD
                June. 11-17
 3
                ATP Stuttgart - Live and VOD
 4              June. 18-23
                ATP Halle - Live
 5
                June. 18-23
 6              ATP London - Live
 7
                June. 26-30
                The Boodles - Live
 8              June. 15-Aug. 4
 9
                World Team Tennis - Live and VOD
                *** JULY TOURNAMENTS ***
10              July. 16-22
11
                ATP Umag - Live and VOD
                Jul. 30-Aug. 5
12              ATP/WTA Washington D.C. - Live and VOD
13
                July. 30-Aug. 5
                ATP Kitzbuhel - Live and VOD
14              *** AUGUST TOURNAMENTS ***
15              Aug. 13-19
                WTA Cincinnati - Live
16              *** SEPTEMBER TOURNAMENTS ***
17              Sep. 14-16
                Davis Cup Semifinals - Live and VOD
18              Sep. 17-23
19              ATP St. Petersburg - Live and VOD
                Sep. 18-23
20              ATP Metz - Live and VOD
21              *** OCTOBER TOURNAMENTS ***
                Oct. 15-21
22              ATP Moscow - Live and VOD
23              Oct. 29-Nov. 4
                WTA Zhuhai - Live
24

25

26 https://tennischanneleverywhere.com/help TC Plus Tournaments, last accessed

27 March 14, 2018.

28
                              Class Action Complaint                        6
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 1           14.    Defendant utilizes, among other ways, Tennis.com to deceptively
 2   market and advertise the live content available on TC Plus. 5 For example, on
 3   February 12, 2018, Defendant claimed, through Tennis.com, that:
 4
                    The combination of Tennis Channel and Tennis Channel Plus
 5
                    will now have live coverage from the first round through to
 6                  the final 19 of the biggest tournaments on the ATP World Tour
                    calendar: seven Masters 1000s tournaments (Monte Carlo,
 7
                    Madrid, Rome, Canada, Cincinnati, Shanghai and Paris) and
 8                  all 12 of the ATP World Tour 500 tournaments (Rotterdam,
                    Rio de Janeiro, Dubai, Acapulco, Barcelona, Halle, Queen’s
 9
                    Club, Hamburg, Beijing, Tokyo, Basel and Vienna).
10
                    This essentially doubles the number of tournaments available
11
                    to Tennis Channel Plus subscribers, and you can watch it all,
12                  regardless of whether or not you have a Tennis Channel TV
                    subscription.
13

14                                                *       *      *
15
                    This expansion couldn’t have come at a more exciting time:
16                  This week Roger Federer, who’s fresh off his 20th Grand Slam
17
                    title at the Australian Open, has a chance to become No.1
                    again at the ABN AMRO World Tennis Tournament in
18                  Rotterdam, the Netherlands – an ATP World Tour 500-level
19
                    event.

20                  If he reaches the semifinals, he’ll be No.1 for the first time
21                  since the week of October 29, 2012.

22                  You can watch every round of Federer’s quest for No.1 live
23                  on Tennis Channel Plus this week.

24 http://www.tennis.com/pro-game/2018/02/tennis-channel-taking-its-atp-

25 coverage-another-level/72048/ [Emphasis in original], last accessed March 14,
     2018.
26

27
     5
      In March of 2017, Sinclair Broadcasting acquired The Tennis Media Company, owner of the website
28   Tennis.com and Tennis Magazine.
                                        Class Action Complaint                                    7
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 1           Plaintiff’s Experience with TC Plus
 2           15.   On February 14, 2018, Plaintiff purchased a subscription for TC
 3   Plus.
 4           16.   On the date of purchase, Plaintiff was unable, despite Defendant’s
 5   marketing and advertisements to the contrary, to watch live the ABN AMRO
 6   World Tennis Tournament match of Roger Federer vs. Ruben Bemelmans.
 7           17.   Plaintiff promptly contacted Defendant via its support chat feature.
 8   Below is the exchange between Plaintiff and Defendant’s support representative:
 9            Alex Wilson
             I just bought TC Plus and am not able to watch the
10
             Federer match as it says that is only on the actual TC
11                             Mike joined the chat
12           Customer Service
             Hi there, thanks for your message.
13           Mike
14           Hello
             I'm sorry, the Federer game it's only available on
15
             Tennis Channel.
16           Alex Wilson
17           The website says the ATP Rotterdam is available on TC
             Plus
18           why is this not the case?
19           Mike
             Please hold on we are investigating this.
20
             Alex Wilson
21           Ok thanks. This is what the website says for TC Plus
22           Tournemanets [sic] Feb. 12-18 ATP Rotterdam - Live
             Mike
23           You are welcome
24           Do you have anymore questions?
             Alex Wilson
25
             I just need an answer as to why I cant watch the
26           Rotterdam Tournament on TC Plus when that is what
27
             the website says.
             Mike
28
                                   Class Action Complaint                           8
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          Please hold on we are investigating this.
 1
          Alex Wilson
 2        Do you know how long the investigation will take and
 3        if it is a while how will I get an answer?
          Mike
 4        I'm sorry for the inconvenience, this might take some
 5        time.
          Alex Wilson
 6
          ok how will you get back in touch with me. Via email?
 7        Mike
 8        I'm sorry, but Federer match will only be available for
          Tennis Channel
 9        Alex Wilson
10        Then I want my money back as this is clearly false
          advertising
11
          Mike
12        For further content information, you can see the
13
          Tennis Guide, to see an updated list of the content
          https://tennischanneleverywhere.com/watchnow
14        Alex Wilson
15        Ok I will need a refund as your website clearly states
          the Rotterdam tournament is available on TC Plus
16
          Mike
17        I'm sorry but a Refund does not apply due to our terms
18
          and conditions.
          Alex Wilson
19        This is horrible. How can you advertise that the
20        Rotterdam Tournament is available and then take my
          $90 and then it is just not available.
21
          This is false advertising
22        I would like to speak to someone in charge over the
          phone about this
23
          How can I speak with someone in charge?
24        Mike
25        We do not have phone support, I'm really sorry but a
          refund does not apply
26        Alex Wilson
27        This is seriously not legal. You really need to get
          someone in charge involved here because this is
28
                              Class Action Complaint                       9
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            clearly false advertising and I am willing to pursue this
  1
            further if need be.
  2         Terms and conditions due not precede false
  3         advertising in a court of law
            Mike
  4         I understand, you can check our guide and see what is
  5         offered
            Alex Wilson
  6
            Ok I will be consulting an attorney over the false
  7         advertising. So I would strongly suggest you escalate
  8         this to your boss.
            Mike
  9         I completely understand, thank you for your feedback
 10         Alex Wilson
            Ok so just to be clear you will not be notifying your
 11
            boss correct?
 12         I just want an answer to this so I can proceed with a
 13
            legal route if need be?

 14         Mike
            No, I will not notify my boss because of our terms and
 15         conditions a refund does not apply, my superiors are
 16         the ones that put the terms and conditions
            Alex Wilson
 17
            Ok thanks for the reply. I have already contacted an
 18         attorney and will unfortunately have to address this
 19
            through the legal system. This is very disappointing

 20         Mike
            I'm sorry once again.
 21

 22
            18.    As seen above, Defendant readily admitted that the live coverage of
 23
      the Federer match was not available, contrary to its false and misleading
 24
      marketing and advertising. Despite the admission that the event was not available
 25
      as advertised, Defendant, nevertheless, refused to refund Plaintiff’s purchase.
 26
            19.    Following the above exchange with customer service, Plaintiff’s
 27
      spouse contacted Defendant’s Customer Service Department via email on
 28
                                   Class Action Complaint                               10
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  1   February 19, 2018, again to request a refund.            The Customer Service
  2   representative falsely claimed that the program was available live and again
  3   denied Plaintiff a refund. Below is a copy of the email exchange:
  4
                   On Mon, Feb 19, 2018 at 10:12
  5                AM, mgilera@cleeng.com (Cleeng Consumer)
                   <support@consumer-cleeng.zendesk.com> wrote:
  6                ## Please do not write below this line ##
  7                Your request (#88816) has been updated. Reply to this
                   email or click the link below:
  8                https://support.cleeng.com/hc/requests/88816
  9

 10
                    mgilera@cleeng.com (Cleeng Consumer)
 11
                    Feb 19, 17:12 CET
 12
                    Hi Sarah,
 13
                    Thank you for contacting us! My name is Maria and I'm a
 14                 Customer Success Specialist from Tennis Channel.
 15                 Can you please confirm if you are referring to the Tennis
                    Channel Plus or just the Tennis Channel itself? As I am unable
 16                 to locate any account for the Tennis Channel Plus under the
                    email address sarahwilson713@gmail.com.
 17
                    Thank you and I look forward to your response.
 18
                    Kind Regards,
 19
                    Maria
 20                 Tennis Channel Customer Success Team

 21
                   My husband bought the subscription under the
 22                email bblegend13@me.com
                   The subscription was for the Tennis Channel Plus.
 23                It was promoted by Tennis Channel Plus "You can watch
                   every round of Federer’s quest for No.1 live on Tennis
 24                Channel Plus this week."
                   We were unable to watch Federer through this subscription
 25                and would like a refund as this is clearly false advertisement
                   by Tennis Channel Plus.
 26
                   Would you please be able to grant this request?
 27
                   Thank you
 28                Alex and Sarah Wilson
                                  Class Action Complaint                             11
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  1
                 Your request (#88816) has been updated. Reply to this
  2              email       or       click      the      link below:
                 https://support.cleeng.com/hc/requests/88816
  3

  4

  5               Nathalie (Cleeng Consumer)
  6               Feb 20, 03:27 CET
  7               Hi Sarah,
  8               Thanks for waiting. Matches of Roger Federer is available on
                  your TC Plus subscription (Please see attached screenshot).
  9
                  I simply searched for this name on the search bar. Just click on
 10               the magnifying glass at the top right corner of the page to do
                  that.
 11
                  Kind Regards,
 12
                  Maria
 13               Tennis Channel Customer Success Team

 14              I understand this is available now, but this was not available
                 live when the Rotterdam ABN AMRO World Tennis
 15              Tournament was actually playing live. It was not available
                 live when the tournament was going on. This is false
 16              advertisement because the tournament was not available
                 when the tournament was playing as it was advertised on
 17              the website.

 18              Can I please have my request for a refund of the Tennis
                 Channel Plus for user bblegend13@me.com?
 19
                 Thank you
 20              Alex and Sarah Wilson

 21

 22               Nathalie (Cleeng Consumer)
 23               Feb 20, 03:41 CET
 24               Hi Sarah,
 25               It was available live. The contents are there so we will not be
                  able to grant your refund request.
 26

 27

 28
                                Class Action Complaint                               12
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  1                 Kind Regards,
  2                 Maria
  3
                    Tennis Channel Customer Success Team

  4

  5         20.   On February 23, 2018, Plaintiff was, once again, unable, despite
  6   Defendant’s marketing and advertisements to the contrary, to watch live the ATP
  7   Rio de Janeiro Tournament match of Nicolas Jarry vs. Pablo Cuevas.
  8         21.   Plaintiff promptly contacted Defendant via its support chat feature.
  9   Below is the exchange between Plaintiff and Defendant’s support representative:
 10

 11         Alex Wilson
            Hello- I bought the TC Plus subscription and it says the
 12
            ATP Rio de Janeiro tournament is available, but it does
 13         not appear to be available for TC Plus when I log in.
 14
            Can you please explain why I cannot view the Rio
            tournament?
 15                               Chat started
 16                           Mike joined the chat
            Customer Service
 17
            Hi there, thanks for your message.
 18         Mike
            Hello
 19
            Alex Wilson
 20         Hello- I bought the TC Plus subscription and it says the
 21         ATP Rio de Janeiro tournament is available, but it does
            not appear to be available for TC Plus when I log in.
 22         Can you please explain why I cannot view the Rio
 23         tournament?
            Mike
 24
            Please search on the Tennis Channel Guide, if you do
 25         not see the content you are looking for, it probably is
 26         not available.
            https://tennischanneleverywhere.com/watchnow
 27         Do you have any other questions?
 28         Alex Wilson
                                  Class Action Complaint                          13
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            On the list of available TC Plus tournaments Rio is
  1
            listed as one of the available ones. It does not appear
  2         to be available as I am trying to Watch the Jerry vs
  3         Cuevas match and it wants me to sign in to the Tennis
            Channel with my cable subscription. Can you confirm
  4         that this cannot be watched on TC Plus?
  5         Mike
            Correct, this game is only available for Tennis Channel
  6
            Alex Wilson
  7         Ok thank you
  8         Mike
            You are welcome
  9         Do you have any more questions?
 10         Alex Wilson
            No
 11
                                 Rate This Chat
 12         Mike
 13
            Have a good day!

 14
            22.    Once again, Defendant readily admitted that the live coverage was
 15
      not offered as advertised and not available to TC Plus subscribers.
 16
            A. Class Members’ Experiences with TC Plus
 17
            23.    Plaintiff’s experience mirrors those of numerous other TC Plus
 18
      purchasers. The internet contains numerous complaints from purchasers who, like
 19
      Plaintiff, were unable to view Defendant’s advertised live content. The following
 20
      is a sample of complaints appearing in one online forum:
 21

 22
            Not very happy. I got the subscription last year in June. First of all they
 23         did not explain that tennis channel plus subscription does not cover tennis
 24         channel and the live matches are not available on plus. You have to have
            separate free subscription for tennis channel thru cable/satellite TV service
 25         provider. This year they posted all Australian Open matches on Tennis
 26         Channel Plus for subscribers. But when I tried to access, it keeps asking
            me to sign in or subscribe. I tried to get help and they submitted a work
 27         order to their tech team. It's been more than two weeks and it has not been
 28         resolved. I keep emailing them for the status of case, and though they were
                                   Class Action Complaint                            14
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            very courteous and apologetic, the response was Tech team is looking into
  1
            the issue, and asked me to cancel the subscription in order to avoid
  2         automatic renewal, and they will sort things out. Why would it
            automatically renew before one year subscription ends in June? I cancelled
  3
            my subscription and let them know. I would not recommend getting
  4         subscription for tennis channel plus to anyone.
  5
            Posted by Moe K. of Snellville, GA on February 24, 2018 on
  6         https://www.yelp.com/biz/tennis-channel-santa-monica-2, last accessed
            March 6, 2018.
  7

  8         Tennis channel EVERYWHERE does not make it clear that the
            subscription for for [sic] Tennis Channel Plus ONLY - it is NOT for
  9
            TENNIS CHANNEL (unless you already have Tennis Channel with a TV
 10         Provider). And if you make this mistake and want a refund - they do not
 11
            offer one. I had to stop payment via my credit card company.

 12         Posted by Gary L. of San Francisco, GA on February 12, 2018 on
 13
            https://www.yelp.com/biz/tennis-channel-santa-monica-2, last accessed
            March 6, 2018.
 14

 15
            Do not subscribe to Tennis Channel Everywhere or TC Plus unless you
            want to click on videos that you can watch all day for free on youtube. You
 16         will not have access to live TV matches on The Tennis Channel unless you
 17         have a paid cable or sattellite [sic] subscription service with The Tennis
            Channel in your package!!! Don't pay $90 for access to videos of matches
 18         that have already been played. Also, I couldn't get this to work on my
 19         MacBook Pro, immediately cancelled and THEY WOULD NOT REFUND
            MY MONEY. Horrible way to treat your customers.
 20

 21         Posted by Katherine W. of San Francisco, CA on April 22, 2017 on
            https://www.yelp.com/biz/tennis-channel-santa-monica-2, last accessed
 22         March 6, 2018.
 23

 24         24.    Defendant’s marketing and advertising practices are clearly meant to
 25   mislead consumers as to the availability of live content on TC Plus. As a direct
 26   and proximate result of Defendant’s conduct, Plaintiff and the class have suffered
 27   injury in fact and have lost money. Defendant, despite having knowledge that its
 28
                                   Class Action Complaint                           15
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  1   representations are misleading to Plaintiff and the class, continues to market and
  2   advertise TC Plus in a deceptive manner.
  3         25.    Plaintiff and the Class are at risk of suffering further injury if the
  4   relief sought is not granted.
  5                         CLASS ACTION ALLEGATIONS
  6         26.    Plaintiff brings this lawsuit, both individually and as a class action,
  7   on behalf of similarly situated purchasers of TC Plus, pursuant to Federal Rule of
  8   Civil Procedure 23(b)(2) and (3).
  9         27.    The classes (“Class” or “Classes”) that Plaintiff seeks to represent
 10   are defined as follows:
 11        Nationwide Class:
           All persons in the United States of America who purchased Defendant’s
 12
           TC Plus services at any time between January 1, 2017 and the present.
 13
           Alternative Illinois State Class:
 14
           All persons in Illinois who purchased Defendant’s TC Plus services at any
 15        time between January 1, 2017 and the present.
 16
            Excluded from the Class are Defendant, as well as Defendant’s affiliates,
 17
      employees, officers and directors, and the Judge to whom this case is assigned.
 18
      Plaintiff reserves the right to amend the definition of the Class if discovery and/or
 19
      further investigation reveal that the Class should be expanded or otherwise
 20
      modified.
 21
            28.    Numerosity/Impracticability of Joinder: There are so many
 22
      members of the Class that joinder of all members is impracticable. Plaintiff
 23
      estimates that there are thousands of members in the Class. The members of the
 24
      Class are readily identifiable from information and records in Defendant’s
 25
      possession, custody or control. The disposition of these claims will provide
 26
      substantial benefits to the members of the Class.
 27

 28
                                      Class Action Complaint                           16
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  1         29.    Commonality and Predominance: There is a well-defined
  2   community of interest and common questions of law and fact that predominate
  3   over any question affecting only individual members of the Class. These common
  4   legal and factual questions, which do not vary from members of the Class, and
  5   which may be determined without reference to the individual circumstances of
  6   any members of the Class, include, but are not limited, to the following:
  7
            a)     whether Defendant’s marketing, advertising and promotion of its
  8
                   TC Plus service was false and misleading;
  9
            b)     whether Defendant concealed facts from Plaintiff and members of
 10                the Class about the availability of live content on TC Plus;
 11
            c)     whether Defendant knew or should have known that its
 12                representations were false, or that the representations omitted
                   material information;
 13

 14         d)     whether Defendant’s conduct was a violation of the CLRA;
 15         e)     whether Defendant’s conduct was a violation of the UCL;
 16         f)     whether Defendant’s conduct was a violation of the FAL;
 17
            g)     whether Defendant’s conduct was a violation of the ICFDBPA;
 18
            h)     whether Defendant’s conduct was a violation of the IUDTPA;
 19
            i)     whether Defendant has been unjustly enriched by its conduct, as
 20
                   alleged herein;
 21
            j)     whether Defendant’s conduct as alleged herein violates public
 22                policy; and
 23
            k)     whether Plaintiff and the members of the Class are entitled to
 24                damages, restitution, equitable relief and/or other damages and
 25
                   other relief, and, if so, the amount and nature of such relief.

 26         30.    Typicality and Adequacy: Plaintiff’s claims are typical of the
 27   claims of the proposed Class, and Plaintiff will fairly and adequately represent
 28
                                   Class Action Complaint                            17
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  1   and protect the interests of the proposed Class. Plaintiff does not have any
  2   interests antagonistic to those of the Class. Plaintiff’s counsel are experienced in
  3   the prosecution of this type of litigation. The questions of law and fact common
  4   to the members of the Class, some of which are set out above, predominate over
  5   any questions affecting only individual members of the Class.
  6         31.    Superiority: A class action is superior to all other available methods
  7   for the fair and efficient adjudication of this controversy. The expense and burden
  8   of individual litigation would make it impracticable or impossible for members of
  9   the Class to prosecute their claims individually. The litigation and trial of the
 10   Class-wide claims are manageable.
 11         32.    Unless a class is certified, Defendant will improperly retain monies
 12   received as a result of its conduct from Plaintiff and members of the Class. Unless
 13   Defendant is required to change its unfair and deceptive practices, Defendant will
 14   continue to commit the violations and the members of the Class, and the general
 15   public, will continue to be misled.
 16         33.    Defendant has acted and refused to act on grounds generally
 17   applicable to the Class, making appropriate final injunctive relief with respect to
 18   the Class as a whole.
                                       COUNT I
 19
                      Violation of Consumers Legal Remedies Act –
 20                        California Civil Code § 1750, et seq.
                            On Behalf of the Nationwide Class
 21
            34.    Plaintiff incorporates by reference each and every preceding
 22
      paragraph as though fully set forth herein.
 23
            35.    This cause of action is brought under the CLRA. Plaintiff and the
 24
      Class are consumers as defined by California Civil Code § 1761(d), and TC Plus
 25
      constitutes services within the meaning of the CLRA.
 26
            36.    Defendant violated and continues to violate the CLRA by engaging
 27
      in the following deceptive practices proscribed by California Civil Code § 1770(a)
 28
                                    Class Action Complaint                            18
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  1   in connection with transactions intended to result in, and that did result in, the sale
  2   of TC Plus to Plaintiff and members of the Class in violation of, inter alia, the
  3   following provisions:
  4                a.     Representing the services have characteristics, uses, or
  5         benefits which they do not have (Cal. Civ. Code § 1770(a)(5));
  6                b.     Representing the services are of a particular standard, quality,
  7         or grade if they are of another (Cal. Civ. Code § 1770(a)(7));
  8                c.     Advertising services with the intent not to sell them as
  9         advertised (Cal. Civ. Code § 1770(a)(9));
 10                d.     Representing a transaction involves rights, remedies, or
 11         obligations that it does not have or involve (Cal. Civ. Code § 1770(a)(14));
 12         and
 13                e.     Representing the services have been supplied in accordance
 14         with a previous representation when they have not (Cal. Civ. Code §
 15         1770(a)(16)).
 16         37.    Plaintiff and other Class members, in purchasing and using TC Plus,
 17   did reasonably act in response to Defendant’s above representations or would
 18   have considered the omitted facts detailed herein material to their purchase
 19   decision. Plaintiff and the Class have suffered damages by the wrongful acts and
 20   practices of Defendant that are in violation of California Civil Code § 1781.
 21         38.    The representations regarding TC Plus were material to Plaintiff and
 22   members of the Class. Defendant intended that Plaintiff and Class members
 23   would rely on these representations and they did, in fact, rely on the
 24   representations.
 25         39.    Plaintiff presently seeks all non-monetary remedies available under
 26   the CLRA and reserves the right to amend his Complaint at a later time to seek
 27   monetary damages and other relief permitted by the statute after providing
 28   Defendant with notice pursuant to California Civil Code § 1782.
                                     Class Action Complaint                              19
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  1         40.       Plaintiff and the members of Class also are entitled to recover
  2   attorneys’ fees and costs pursuant to Civil Code §§ 1780 and 1781.
  3
                                        COUNT II
  4
                      False and Misleading Advertising in Violation of
  5               California Business and Professions Code § 17500, et seq.
                             On Behalf of the Nationwide Class
  6
            41.       Plaintiff incorporates by reference each and every preceding
  7
      paragraph as though fully set forth herein.
  8
            42.       Defendant’s acts and practices as described herein have deceived
  9
      and/or are likely to deceive members of the Class and the public. Defendant has
 10
      advertised and stated that TC Plus provides access to live broadcast content when,
 11
      in fact, it does not, or only selectively does, in direct contradiction to Defendant’s
 12
      marketing and advertisements.
 13
            43.       By its actions, Defendant has and continues to disseminate uniform
 14
      false advertising concerning TC Plus, which advertisements, by their nature, are
 15
      unfair, deceptive, untrue, or misleading within the meaning of the FAL. Such
 16
      advertisements are likely to deceive, and continue to deceive, the consuming
 17
      public for the reasons detailed above.
 18
            44.       The above-described false, misleading, and deceptive advertising
 19
      Defendant disseminated continues to have the likelihood to deceive in that
 20
      Defendant has failed to disclose the true and actual nature of TC Plus. Defendant
 21
      has failed to initiate a public information campaign to alert consumers of TC
 22
      Plus’s true nature, which continues to create a misleading perception of the TC
 23
      Plus service.
 24
            45.       In making and disseminating the statements alleged herein,
 25
      Defendant should have known its advertisements were untrue and misleading, in
 26
      violation of the FAL. Plaintiff and the Class members based their decisions to
 27
      purchase TC Plus, in substantial part, on Defendant’s misrepresentations and
 28
                                     Class Action Complaint                             20
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  1   omissions regarding the true nature of TC Plus. The revenues to Defendant
  2   attributable to TC Plus service sold using those false and misleading
  3   advertisements amounts to substantial monies paid for the service. Plaintiff and
  4   the Class were injured in fact and lost money as a result.
  5         46.    Defendant intended for Plaintiff and Class members to rely on these
  6   representations and omissions and Plaintiff and Class members consequently did
  7   rely on Defendant’s misrepresentations and omissions.
  8         47.    The misrepresentations and non-disclosures by Defendant of the
  9   material facts detailed above constitute false and misleading advertising and,
 10   therefore, are violations of the FAL.
 11         48.    As a result of Defendant’s wrongful conduct, Plaintiff and the Class
 12   members request that this Court enjoin Defendant from continuing to violate the
 13   FAL. Such conduct is ongoing and continues to this date. Plaintiff and the Class
 14   are therefore entitled to the relief described below as appropriate for this cause of
 15   action.
                                    COUNT III
 16
          Unlawful, Unfair, and Fraudulent Business Practices in Violation of
 17           California Business and Professions Code § 17200, et seq.
                          On Behalf of the Nationwide Class
 18
            49.    Plaintiff incorporates by reference each and every preceding
 19
      paragraph as though fully set forth herein.
 20
            50.    The UCL defines unfair competition to include any “unfair,”
 21
      “unlawful,” or “fraudulent” business act or practice.
 22
            51.    Defendant violated, and continues to violate, the UCL by
 23
      misrepresenting TC Plus as providing access to live broadcast content when, in
 24
      fact, it does not, or only selectively does, in direct contradiction to Defendant’s
 25
      marketing and advertisements.
 26
            52.    By engaging in the above-described acts and practices, Defendant
 27
      has committed an unfair business practice within the meaning of the UCL.
 28
                                    Class Action Complaint                             21
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  1   Consumers have suffered substantial injury they could not reasonably have
  2   avoided other than by not purchasing TC Plus.
  3         53.      Defendant’s acts and practices have deceived and/or are likely to
  4   deceive Class members and the public and thus constitute a fraudulent business
  5   practice. Defendant uniformly marketed and advertised TC Plus as providing
  6   access to live broadcast content when, in fact, it does not, or only selectively does,
  7   despite the fact that Defendant knew, or should have known, of TC Plus’s real
  8   content availability.
  9         54.      As discussed above, Plaintiff and the members of the Class
 10   purchased TC Plus directly from Defendant and/or its authorized agents. Plaintiff
 11   and members of the Class were injured in fact and lost money as a result of such
 12   acts of unfair competition.
 13         55.      The injuries suffered by Plaintiff and Class members are greatly
 14   outweighed by any potential countervailing benefit to consumers or to
 15   competition, nor are they injuries that Plaintiff and Class members should have or
 16   could have reasonably avoided.
 17         56.      Defendant received the funds paid by Plaintiff and the members of
 18   the Class. Defendant profited by misrepresenting the properties of TC Plus that
 19   it otherwise would not have sold. Defendant’s revenues attributable thereto are
 20   thus directly traceable to the substantial dollars paid out by Plaintiff and the Class
 21   for TC Plus.
 22         57.      Unless Defendant is enjoined from continuing to engage in the
 23   unlawful, unfair, and fraudulent business acts and practices as described herein,
 24   which conduct is ongoing, Plaintiff and the Class will continue to be injured by
 25   Defendant’s conduct.
 26         58.      Defendant, through its acts of unfair competition, has acquired
 27   money from the Class members. Plaintiff and the Class request this Court to
 28   enjoin Defendant from continuing to violate the UCL.
                                    Class Action Complaint                              22
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  1         59.    The unlawful, unfair, and fraudulent conduct described herein is
  2   ongoing and continues to this date. Plaintiff and the Class, therefore, are entitled
  3   to relief described below as appropriate for this cause of action.
  4
                                         COUNT IV
  5                Violation of Illinois Consumer Fraud and Deceptive
                  Business Practices Act, 815 ILCS 505/2, Alternatively,
  6
                  In the Alternative, on Behalf of the Illinois State Class
  7

  8         60.    Plaintiff incorporates by reference each and every preceding
  9   paragraph as though fully set forth herein.
 10         61.    The ICFDBPA makes it unlawful to employ:
 11
            Unfair methods of competition and unfair or deceptive acts or
 12
            practices, including but not limited to the use or employment of any
 13         deceptive fraud, false pretense, false promise, misrepresentation or
            the concealment, suppression or omission of such material fact, with
 14
            intent that others rely upon the concealment, suppression or omission
 15         of such material fact, or the use or employment of any practice
            described in Section 2 of the “Uniform Deceptive Trade Practices
 16
            Act,” approved August 5, 1965, in the conduct of any trade or
 17         commerce are hereby declared unlawful whether any person has in
 18
            fact been misled, deceived or damage thereby.

 19         815 ILCS 505/2.
 20
            62.    As detailed throughout the Complaint, Defendant misrepresented
 21
      that TC Plus provided subscribers with live broadcast content when, in fact, it did
 22
      not, or only selectively did, in direct contradiction to Defendant’s marketing and
 23
      advertisements.
 24
            63.    Defendant    violated    Section     505/2   of   the   ICFDBPA     by
 25
      misrepresenting the availability of live programing content on its TC Plus service.
 26
      Defendant made the misrepresentations described throughout this Complaint with
 27

 28
                                    Class Action Complaint                            23
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  1   the intent that Plaintiff and the Illinois State Class rely on them and purchase TC
  2   Plus.
  3           64.   Plaintiff and the Illinois State Class were damaged by Defendant’s
  4   violation. Plaintiff and the Illinois State Class would not have purchased TC Plus,
  5   or would not have paid the purchase price they did, had the facts been known.
  6
                                          COUNT V
  7           Violation of the Illinois Uniform Deceptive Trade Practices Act
                           815 ILCS 510/2, et seq., Alternatively,
  8
                  In the Alternative, on Behalf of the Illinois State Class
  9

 10           65.   Plaintiff incorporates by reference each and every preceding
 11   paragraph as though fully set forth herein.
 12           66.   The IUDTPA makes it unlawful to “advertise[] goods or services
 13   with intent not to sell them as advertised.” 815 ILCS 510/2(a)(9). It is also
 14   unlawful to “engage[] in any other conduct which similarly creates a likelihood
 15   of confusion or misunderstanding.” Id. at (a)(12). A plaintiff, “[i]n order to
 16   prevail in an action under this Act… need not prove competition between the
 17   parties or actual confusion or misunderstanding.” Id. at (b).
 18           67.   As detailed throughout the Complaint, Defendant deceptively
 19   marketed and advertised TC Plus as providing subscribers with certain live
 20   broadcasts that it, in fact, did not provide, in direct contradiction to Defendant’s
 21   marketing and advertisements.
 22           68.   Defendant    violated    Section     510/2   of   the   IDUTPA     by
 23   misrepresenting the availability of live programing content on its TC Plus service.
 24   Defendant’s misrepresentation, as described throughout this Complaint, created a
 25   likelihood of confusion on the part of consumers regarding what live programing
 26   content was or was not available on TC Plus.
 27           69.   Plaintiff and the Illinois State Class were damaged by Defendant’s
 28   violation and their subsequent purchases of TC Plus. Plaintiff and the members
                                    Class Action Complaint                            24
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  1   of the Illinois State Class would not have purchased TC Plus, or would not have
  2   paid the purchase price they did, had the facts been known.
  3
                                      COUNT VI
  4
                                 Unjust Enrichment
  5        Alternatively, On Behalf Of Plaintiff And The Illinois State Class
                In the Alternative, on Behalf of the Illinois State Class
  6

  7
            70.    Plaintiff incorporates by reference each and every preceding
  8
      paragraph as though fully set forth herein.
  9
            71.    This claim is asserted on behalf of Plaintiff and the members of the
 10
      Illinois State Class against Defendant.
 11
            72.    As a direct and proximate result of Defendant’s deceptive and
 12
      misleading conduct as set forth above, Defendant has been unjustly enriched.
 13
            73.    Specifically, by its misconduct described herein, Defendant has
 14
      accepted a benefit (monies paid by Plaintiff and Illinois State Class members).
 15
            74.    It would be inequitable for Defendant to retain the profits, benefits,
 16
      compensation, consideration and other monies obtained by and from Defendant’s
 17
      wrongful and deceptive conduct in marketing and selling TC Plus to Plaintiff and
 18
      the Illinois State Class, as detailed in this Complaint.
 19
            75.    Plaintiff, on behalf of himself and all others similarly situated, seeks
 20
      restitution from Defendant and an Order of this Court proportionally disgorging
 21
      all profits, benefits, compensation, consideration, and other monies obtained by
 22
      Defendant from its wrongful conduct.
 23
                                  PRAYER FOR RELIEF
 24
            WHEREFORE, Plaintiff, on behalf of himself and members of the
 25
      proposed Classes, prays for judgment as follows:
 26
                   a.    Certification of the Class under Federal Rule of Civil
 27
                   Procedure 23 and appointment of Plaintiff as representative of the
 28                Class and his counsel as Class counsel;
                                    Class Action Complaint                             25
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                  b.   Compensatory and other damages for economic and non-
  1
                  economic damages;
  2
                  c.     Awarding restitution and disgorgement of Defendant’s
  3
                  revenues or profits to Plaintiff and the members of the proposed
  4               Class;
  5
                  d.    An Order requiring Defendant to cease and desist from
  6               engaging in the alleged wrongful conduct and to engage in a
                  corrective advertising campaign;
  7

  8               e.   Statutory pre-judgment and post-judgment interest on any
                  amounts;
  9

 10               f.      Payment of reasonable attorneys’ fees and recoverable
 11
                  litigation expenses as may be allowable under applicable law; and

 12               g.    Such other relief as the Court may deem just and proper.
 13                                   JURY DEMAND
 14
           Plaintiff demands a trial by jury on all causes of action so triable.
 15

 16

 17
      Dated:   April 25, 2018                Respectfully submitted,
 18

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                                  Class Action Complaint                           26
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 13                                       Class
 14

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                               Class Action Complaint                             27
